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         AO
          AO450
             450(GAS
                 (GASRev
                     Rev.09/20)
                          6/03) Judgment in a Civil Case



                                      United States District Court
                                                Southern District of Georgia
                  ANTONIO LEON MOSES,

                                            Plaintiff,
                                                                                   JUDGMENT IN A CIVIL CASE


                                           V.                                    CASE NUMBER:        CV 620-117

                  WARDEN BRIAN ADAMS,

                                            Defendant.




                    Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
                    has rendered its verdict.

                    Decision by Court.This action came before the Court. The issues have been considered and a decision has been
            ✔
                    rendered.

                    IT IS ORDERED AND ADJUDGED
                    that, pursuant to the Order dated January 11, 2021, the Court CONCURS with the Magistrate

                    Judge's Report and Recommendation and said report is ADOPTED as the Court's opinion; therefore,

                    Plaintiff's Complaint is DISMISSED without prejudice. Additionally, Plaintiff's Motion to Appoint

                    Counsel is DENIED and Plaintiff is DENIED leave to proceed in forma pauperis on appeal. This

                    case stands CLOSED.




           01/11/2021                                                          John E. Triplett, Acting Clerk
           Date                                                                Clerk



                                                                               (By) Deputy
                                                                                     eputy Clerk
GAS Rev 10/2020
